            Case 5:19-cv-00996-DAE Document 118 Filed 10/20/20 Page 1 of 4




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


CHRIS MARCHLEWICZ,                              §
                                                §
                    Plaintiff,                  §                SA-19-CV-00996-DAE
                                                §
vs.                                             §
                                                §
BROTHERS XPRESS, INC.,                          §
CHARANJIT SINGH, HARPREET                       §
SINGH, DHALIWAL BROTHERS                        §
CARRIER, INC., C.H. ROBINSON                    §
INTERNATIONAL INC., C.H.                        §
ROBINSON WORLDWIDE INC.,                        §
                                                §
                    Defendants.                 §

                                             ORDER

       Before the Court in the above-styled cause of action is Defendants’ Opposed Motion to

Modify Subpoena Duces Tecum Issued to Christine Dickison, Andrew Sievers, and Joel Jenne,

M.D., and for Protective Order [#110], which was referred to the undersigned for disposition.

The Court held a hearing on the motion on October 19, 2020, at which counsel for all parties

appeared telephonically. At the close of the hearing, the Court issued certain oral rulings, which

it now memorializes with this written Order.

       This is a personal-injury action arising out of a motor-vehicle accident between Plaintiff

Chris Marchlewicz’s vehicle and an 18-wheeler drive by Defendant Charanjit Singh, who was

allegedly working for Defendants Brothers Xpress, Inc. and Harpreet Singh at the time of the

accident.     Plaintiff alternatively alleges that Singh was the employee of Defendants C.H.

Robinson International, Inc. and C.H. Robinson Worldwide, Inc.          The suit asserts various

theories of negligence against Defendants.




                                                1
         Case 5:19-cv-00996-DAE Document 118 Filed 10/20/20 Page 2 of 4




       Defendants Brothers Xpress and Harpreet Singh (hereinafter “Defendants”) have moved

to modify a subpoena issued to three expert witnesses designated by Defendants in conjunction

with Plaintiff’s notice of the experts’ depositions. At issue is request for production number

seven, which asks for the experts to produce “any and all documents, including, but not limited

to, contracts or agreements between you and [Defendants’ law firm] at any time within the last

five years.” Defendants contend the requested discovery is irrelevant, not proportional to the

needs of this case, and overbroad. Plaintiff contends that the discovery is necessary and relevant

to a claim that the experts’ testimony is biased. Defendants argue that Plaintiff has not yet put

forth any evidence to suggest actual bias of the experts, and that the discovery request amounts

to nothing more than a fishing expedition in hopes of discovering bias. Defendants argue that

Plaintiff can cross examine the experts and effectively explore any suspicions of bias at the

depositions without this additional discovery.

       Discovery is limited to all nonprivileged matters relevant to any party’s claim or defense

and proportional to the needs of the case. Fed. R. Civ. P. 26(b)(1). At the hearing, the parties

informed the Court that the depositions of the three experts have not yet occurred and are

scheduled to proceed next month. Defendants have already produced materials required under

Rule 26 with respect to each of the three experts to be deposed, including a list of all other cases

in which the witness testified as an expert at trial or by deposition in the previous four years and

a statement of compensation to be paid to each expert for the study and testimony in this case.

Fed. R. Civ. P. 26(a)(2)(B)(v), (vi). As to Dr. Jenne, however, Defendants have only disclosed

the cause number and case style for each case on his list and not the law firms that retained him

as an expert in those cases.




                                                 2
         Case 5:19-cv-00996-DAE Document 118 Filed 10/20/20 Page 3 of 4




       Defendants have agreed to supplement their expert disclosures to include any additional

billing records pertaining to compensation for each expert and to provide more information as to

Dr. Jenne’s testimony history. Specifically, Defendants have agreed to supplement Dr. Jenne’s

testimony history by identifying, for each case in which he testified or gave a deposition in the

last four years, whether he was engaged to serve as an expert by a plaintiff(s) or a defendant(s)

and whether the firm that engaged him as an expert was Defendants’ law firm. Defendants

agreed to provide this information within two weeks, prior to the scheduled depositions.

Consistent with these representations, the Court will grant Defendants’ motion and modify the

subpoena by striking request for production number seven. This order is without prejudice to

Defendants returning to the Court for intervention if the experts’ deposition testimony reveals

more evidence of bias than merely that these witnesses testify more frequently for the defense or

if the experts are evasive or non-responsive to questions regarding their litigation history.

       IT IS THEREFORE ORDERED that Defendants’ Opposed Motion to Modify

Subpoena Duces Tecum Issued to Christine Dickison, Andrew Sievers, and Joel Jenne, M.D.,

and for Protective Order [#110] is GRANTED as follows:

       IT IS HEREBY ORDERED that Defendants Brothers Xpress and Harpreet Singh

supplement their expert disclosures within 14 days of this Order as set forth herein.

       IT IS FURTHER ORDERED that request for production seven in the subpoena duces

tecum served on each of Defendants’ designated expert witnesses Christine Dickison, Andrew

Sievers, and Joel Jenne, M.D., is STRICKEN.




                                                  3
 Case 5:19-cv-00996-DAE Document 118 Filed 10/20/20 Page 4 of 4




IT IS SO ORDERED.

SIGNED this 20th day of October, 2020.




                                  ELIZABETH S. ("BETSY") CHESTNEY
                                  UNITED STATES MAGISTRATE JUDGE




                                     4
